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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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ATTORNEYS OF RECORD:
NEAL BRICKMAN, ESQ.
JASON A. STEWART, ESQ.

 

JOHN STANISE,
Plaintiff,
Vs.
VICTOR LORIA,
Defendant. :
---X

 

Civil Action No.: 20-cv-2769-VSB

NOTICE OF PLAINTIFF’S
CROSS-MOTION SEEKING
THE ENTRY OF TEMPORARY
RESTRAINTS AND A
PRELIMINARY INJUNCTION
FOR THE PENDENCY OF
THIS LITIGATION

PLEASE TAKE NOTICE that, upon the annexed Declaration of John Stanise, sworn to on

May 19, 2020, and the exhibits annexed thereto; the Memorandum of Law in Support of Plaintiff s

Cross-Motion Seeking the Entry of Temporary Restraints and a Preliminary Injunction for the

Pendency of this Litigation, and, all the pleadings and proceedings heretofore had herein, the

undersigned will move this Court, before the Hon. Vernon S. Broderick, United States District

Judge, at the Thurgood Marshall United States Courthouse, 40 Foley Square, New York, New

York 10007, at a date and time as the Court may direct, for an Order entering a Temporary

Restraining Order and Preliminary Injunction, pursuant to Fed. R. Civ. P. 65(a) and (b).
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Specifically, to avoid further future irreparable harm Defendant must be enjoined from the

following:

a.

Opening any medical offices in addition to his Miami office in violation of Paragraph 17.1
(b) as set forth in the First Amendment to the Company’s Operating Agreement;

Pursuing directly or indirectly, other than through the Company, any commercial ventures
derived from the introduction of Dr. Loria to any person by John Stanise in violation of
Paragraph 17.1 (c) as set forth in the First Amendment to the Company’s Operating
Agreement;

Doing business with current Lorstan licensees or any physicians who are current potential
future licensees away from the Company;

Refusing to make his pro rata capital contributions in accordance with the Operating
Agreement; and

Taking further intentional actions, such as unilaterally closing the Company’s Operating
bank account, which hinder, delay or otherwise interfere with the business operation of the
Company, including Defendant’s refusal to fulfill his duties as medical advisor and/or
otherwise preventing the compounding of the Company’s patented pharmaceutical product
by and for licensees’ use.

Please take further notice that pursuant to Local Rule 6.1(b) responsive papers, if any, must

be served within 14 days of service of the moving papers, and any reply papers shall be served

within 7 days of service of the opposition papers.

Dated:

New York, New York
May 19, 2020

Respectfully submitted,

THE LAW OFFICES OF NEAL
BRICKMAN, P.C.

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